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                 EXHIBIT B-056
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                                                             FI_LED IN OFFICE

                                                                                        02

                                                                          DEPUT    SUPERIOR    URT
                                                                                  COUNTY. GA
                 IN THE SUPERIOR COURT OF FULTON COUNTY
                                    STATE OF GEORGIA
State of Georgia                                 I


V.                                                     CASE NO. 2022-EX-000024


IN RE: Special Purpose Grand
Jury
     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in
Courtroom §D_ in order to Erecord images and/or Esound during all or
portions of the proceedings in the above captioned case / calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): Ecomputer of any size, including a
tablet, a notebook, and a laptop; gsmart phone, a cell phone or other wireless
phone;    X camera and other audio or video recording devices           E
                                                                   any similar
devices

The proceedings that the undersigned desires to record commence on (date and
time)A_ugust 9, 2022 at 12:30 p.m.. Subject to direction from the court
regarding possible pooled coverage, the undersigned wishes to use this device
in the courtroom on (date and time)Aug1_ist 9, 2022 12:30 gm.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual)WSB-TV .


The undersigned hereby certiﬁes that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

For questions or concerns email i     ltoncoun       a. ov                          1
Rule 22 (Rev. 04/ 01/ 18)
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*Notice to Reguesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

WSB-TV
[News AgencylMedia OutletlLaw Firmﬂndividual Representative]

contenmsbtvmom
[Email Address]

404-897-6276
[Phone Number]

ORDER APPROVING/DISAPPROVING REQUEST:
              The request is:
                      EApproved
                      DDisapproved
              The requesting agency:
                      .Shall be pool for its media
                      DShall not be pool for its media
Under no circumstances is this rule to be construed as permission for ﬁlming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 8th day of August 2022.



                        MMH‘M
                     Judge oYSuperior Court of Fulton![County
                             Atlanta Judicial Circuit


For questions or concerns email Qioﬂjultoncounggga. gov                       2
Rule 22 (Rev. 04/ 01/ 18)
